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 7
 8                   IN THE UNITED STATES DISTRICT COURT FOR THE
 9                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )       CR S-07-314 FCD
                                          )
12                Plaintiff,              )       STIPULATION AND ORDER
                                          )       TO CONTINUE STATUS HEARING
13        v.                              )       ON DEFENDANT TERESA
                                          )       MARIA MORALES’ MOTION TO
14   JOSE LUIS MORALES,                   )       SUPPRESS
     JUAN MORALES,                        )
15   ENRIQUE MORALES,                     )
     TERESA MARIA MORALES,                )
16   PETRA PRECIADO MORALES,              )
     EDER MARTINEZ RIOS, and              )
17   EDGAR MARTINEZ RIOS,                 )
                                          )
18                Defendants.             )
                                          )
19
20        IT IS HEREBY STIPULATED AND AGREED between Timothy E. Warriner,
21   attorney for TERESA MARIA MORALES, and Matthew Stegman, Assistant
22   U.S. Attorney, representing plaintiff United States of America, that
23   the status hearing on defendant TERESA MARIA MORALES’ Motion to
24   Suppress in this case be continued from February 22, 2010, to March
25   8, 2010 at 10:00 a.m.1
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            The parties were advised by this Court’s Clerk that March 8,
28   2010 at 10:00 a.m. is an available date and time for this matter.

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 1        Undersigned counsel for the government, at the time of setting
 2   of the motion for February 22, 2010, had prearranged plans to be out
 3   of town for preparation for trial and witness interviews, with a
 4   number of witnesses scheduled for interviews.           Although previously
 5   scheduled, undersigned counsel for the government did not see this
 6   on his calendar at the time of setting of the February 22 hearing.
 7   Undersigned defense counsel stipulates to this continuance.
 8        The parties also stipulate that the time between February 22,
 9   2010, and March 8, 2010, should be excluded from the calculation of
10   time under the Speedy Trial Act.        The parties stipulate that the
11   ends of justice are served by the Court excluding such time under
12   Local Code T-4, so that counsel for the defendant may have
13   reasonable time necessary for effective preparation, and under E,
14   pending motion.   18 U.S.C. § 3161(h)(8)(B)(iv) and (h)(1)(F).
15   DATED: February 18, 2010                    BENJAMIN B. WAGNER
                                                 United States Attorney
16
17                                     By:        /s/ Matthew Stegman
                                                 MATTHEW STEGMAN
18                                               Assistant U.S. Attorney
19
     DATED: February 18, 2010          By:        /s/ Tim Warriner
20                                               TIM WARRINER
                                                 Counsel for defendant
21                                               Teresa Maria Morales
22
23        IT IS SO ORDERED:
24   DATED: February 18, 2010
                                             _______________________________________
25                                           FRANK C. DAMRELL, JR.
                                             UNITED STATES DISTRICT JUDGE
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